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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )     4:08CR3019
     v.                              )
                                     )
CHRISTOPHER G. DIGIORGIO and         )       ORDER
DOMINICK C. DIGIORGIO,               )
                                     )
     Defendants.


     IT IS ORDERED:

     1. An evidentiary hearing on the defendants’ motions to
suppress, filings 18 and 20, will be held before the undersigned
on April 28, 2008 beginning at 1:00 p.m. in Courtroom #2, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. Based on the defendants’ request, the
court has set aside two hours for this hearing.

     2. The defendants, defendants’ counsel, and counsel for the
government shall be present at this hearing.

     3. Pursuant to NECrimR 12.5, copies of all exhibits
expected to be offered into evidence during the hearing, except
those to be used for impeachment only, shall be delivered to the
chambers of the undersigned at least twenty-four (24) hours
before the hearing and, at the outset of the hearing, to the
extent reasonably possible, the parties shall provide the
undersigned and the courtroom deputy with a written list of all
witnesses the parties expect to call.

     4. As to all defendants, the trial of this case is
continued until further order of the court following resolution
of outstanding motions.

     Dated March 28, 2008

                                    BY THE COURT

                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
